









COURT
OF APPEALS
SECOND
DISTRICT OF TEXAS
FORT WORTH
NO.
2-01-451-CR
&nbsp;
HALBERT LANCASTER MONTGOMERY&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
APPELLANT
V.
THE STATE OF TEXAS&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp; STATE
&nbsp;
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FROM CRIMINAL DISTRICT COURT NO. 1 OF
TARRANT COUNTY
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MEMORANDUM
OPINION ON THE STATE'S
CROSS-PETITION
FOR DISCRETIONARY REVIEW(1)
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We withdraw our opinion and judgment of June 26, 2003 and substitute the
following in their place solely to make a nonsubstantive change on page 4.
After a jury trial, Appellant Halbert Montgomery was convicted of felony DWI.
He pled true to the habitual and enhancement paragraphs, and the jury assessed a
punishment of sixty years' confinement in the Institutional Division of the
Texas Department of Criminal Justice. The trial court sentenced him accordingly.
Appellant brings two points on appeal, complaining that the State's closing
arguments after the guilt-innocence phase and punishment phase were improper.
Because we hold that the trial court did not reversibly err, we affirm the trial
court's judgment.
To be permissible, the State's jury argument must fall within one of the
following four general areas: (1) summation of the evidence; (2) reasonable
deduction from the evidence; (3) answer to argument of opposing counsel; or (4)
plea for law enforcement.(2)
In his first point, Appellant complains that "[t]he trial court erred by
allowing the State to argue that the jury could determine the Appellant's level
of intoxication was higher at [the] time of arrest even though the State had not
introduced scientific retrograde extrapolation evidence to support that
argument." At trial, State's witness Mark Fondren, senior forensic chemist
with the Tarrant County Medical Examiner's Office, testified, in response to the
prosecutor's question, that the human body eliminates "approximately .020
grams of alcohol per hour, which equates to about a beer an hour or a beverage
an hour." He confirmed that the elimination rate is about .02 per hour in
response to defense counsel's question on cross-examination. Fondren also
testified that Appellant gave two breath samples: the first one indicated a
value of .152 grams of alcohol per 210 liters of breath, and the second one
indicated a value of .148 grams of alcohol per 210 liters of breath.
The following occurred during the State's closing argument on rebuttal:

  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; [STATE]: The breath test, the
  most damning piece of evidence against this gentleman. Although it is an hour
  -- or still here under an hour after the stop, he's not charged with being
  intoxicated at that time. But you can see from the breath test that he was
  coming down at that time. And even coming down he was still -
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; [DEFENSE COUNSEL]: Objection,
  Your Honor, that's outside the record. There's been no testimony that he was
  coming down a slope or extrapolation.
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; THE COURT: Overruled.
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; [STATE]: If you can do math, you
  can see the first specimen is .15 and the second a few minutes later is .14.
  And even at that, he's still almost twice the legal limit of intoxication,
  ladies and gentlemen, under the law. So you do the math yourself. I say that
  if you look at this, you can see that at the time of driving, less than an
  hour before that, he was going to be at least that much or if not higher at
  the time of driving.

The State argues that Appellant waived his point on appeal by not objecting
"when the argument was repeated" immediately after his objection. We
disagree. The State relies on a case out of this court, Haliburton v. State,
for the proposition that an objection is required each time the complained-of
argument is made.(3) While such language does
appear in that case, it is not related to the holding. In Haliburton,
we held that the appellant failed to preserve error by waiting until the
prosecutor finished his argument and the jury was excused before he objected and
moved for mistrial.(4) Here, Appellant had
already obtained the adverse ruling; there was no need for him to object again
to a statement the trial court had just authorized the prosecutor to make and
which the prosecutor was making in response to the trial court's overruling
Appellant's objection. Had the prosecutor made the objected-to statement a third
time, however, Appellant would have been required to repeat his objection or
request a running objection. We therefore hold that Appellant preserved his
complaint for review. But we also hold that the State's argument was a
reasonable deduction from or summation of the evidence.(5)
We therefore overrule Appellant's first point.
In his second point, Appellant complains that the trial court erred by
denying his motion for mistrial after the State commented on his failure to
testify in its closing argument at punishment. When the trial court sustains an
objection and instructs the jury to disregard but denies a defendant's motion
for a mistrial, the issue is whether the trial court erred in denying the
mistrial.(6)
After defense counsel asked the jury to consider a thirty-year sentence, the
prosecutor responded with a summary of Appellant's criminal history, emphasizing
that he was an unreformed repeat offender:

  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Forty-five years and y'all can
  go as high up as you think your judgment determines. But I am going to ask
  that y'all assess that amount because let's be honest, he's earned every day
  of it. Okay. This is not his first time in this courtroom, this is not his
  first time to ask for leniency. And every time he's been granted another
  chance, he screwed it up.

Defense counsel then objected that the argument was a comment on Appellant's
failure to testify. The conscientious trial court sustained the objection and
instructed the jury to disregard the comment but denied the motion for mistrial.
We hold that the argument was not a comment on Appellant's failure to testify.
Appellant's lawyer had argued for a lenient sentence. The prosecutor was
properly responding to that argument. The prosecutor's language was not
"manifestly intended or . . . of such a character that the jury would
necessarily and naturally take it as a comment on the defendant's failure to
testify."(7) Because the argument was
proper, the trial court did not err in denying Appellant's motion for mistrial.
We overrule Appellant's second point.
Having overruled both of Appellant's points, we affirm the trial court's
judgment.
&nbsp;
&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
PER CURIAM
&nbsp;
PANEL F: DAUPHINOT, GARDNER, and WALKER, JJ.
DO NOT PUBLISH
Tex. R. App. P. 47.2(b)
DELIVERED: August 27, 2003

1. See Tex. R. App. P. 47.4.
2. Felder v. State, 848 S.W.2d 85, 94-95 (Tex.
Crim. App. 1992), cert. denied, 510 U.S. 829 (1993); Alejandro v.
State, 493 S.W.2d 230, 231 (Tex. Crim. App. 1973).
3. Haliburton v. State, 80 S.W.3d 309, 315 (Tex.
App.--Fort Worth 2002, no pet.).
4. Id. at 315-16.
5. See Felder, 848 S.W.2d at 94-95; Alejandro,
493 S.W.2d at 231.
6. Faulkner v. State, 940 S.W.2d 308, 312 (Tex.
App.--Fort Worth 1997, pet. ref'd) (en banc op. on reh'g).
7. Bustamante v. State, 48 S.W.3d 761, 765 (Tex.
Crim. App. 2001).



